
300 Multiple Choices

Multiple Choices
The document name you requested (/attorneys/assets/opinions/appellate/unpublished/a4016-15.pdf) could not be found on this server.
However, we found documents with names similar to the one you requested.Available documents:

/attorneys/assets/opinions/appellate/unpublished/a4011-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4056-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a3016-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4066-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4716-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4416-15.pdf (mistyped character)
/attorneys/assets/opinions/appellate/unpublished/a4516-15.pdf (mistyped character)


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